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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

THE STATE OF TEXAS, ET AL.                    §
                                              §
v.                                            §    CIVIL NO. 4:20-CV-957-SDJ
                                              §
GOOGLE LLC                                    §

                                SCHEDULING ORDER

      This antitrust action was initially filed in this Court on December 16, 2020.
The case was later transferred, on August 12, 2021, to the United States District
Court for the Southern District of New York (“SDNY”) by the Judicial Panel on
Multidistrict Litigation (“JPML”) for coordinated and consolidated pretrial
proceedings in MDL 3010. While proceeding in the MDL, the parties began discovery,
including the exchange of initial disclosures.

      On June 5, 2023, the JPML remanded the case back to this Court. Defendant
Google sought mandamus relief from the JPML remand order in the United States
Court of Appeals for the Second Circuit. On October 4, 2023, the Second Circuit
denied Google’s mandamus petition and the SDNY transferred the case back to this
Court shortly thereafter (Cause No. 1:21-cv-6841).

       On November 7, 2023, the Court ordered the parties to submit, among other
things, proposed case schedules for consideration. (Dkt. #153). The Court, after
conferring with the parties and considering the complexity of the case, the parties’
proposed schedules, (Dkt. #156, #157), and the Court’s docket, enters this case-
specific order which controls disposition of this action pending further order of the
Court. The following actions shall be completed by the dates indicated. 1

                                       DEADLINES

 01/05/2024                       Deadline for Plaintiff to file amended pleadings.
                                  (A motion for leave to amend is required.)

 01/15/2024                       Deadline for motion to dismiss.




       1 If a deadline falls on a Saturday, Sunday, or a legal holiday as defined in Federal

Rule of Civil Procedure 6, the effective date is the first business day following the deadline
imposed.



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 02/05/2024                      Deadline for Defendant to file final amended
                                 pleadings. 2 (A motion for leave to amend is
                                 required.)

 02/15/2024                      Deadline to file opposition to motion to dismiss.

 02/29/2024                      Deadline to file reply in support of motion to dismiss.

 05/03/2024                      Close of fact discovery.

 05/17/2024                      Disclosure of expert testimony pursuant to Federal
                                 Rule of Civil Procedure 26(a)(2) and Local Rule
                                 CV-26(b) on issues for which the party bears the
                                 burden of proof.

 07/08/2024                      Disclosure of expert testimony pursuant to Federal
                                 Rule of Civil Procedure 26(a)(2) and Local Rule
                                 CV-26(b) on issues for which the party does not bear
                                 the burden of proof.

 08/05/2024                      Disclosure of rebuttal expert testimony.

 09/13/2024                      Close of expert discovery.

 10/18/2024                      Deadline for motions for summary judgment.

 10/18/2024                      Deadline to object to all expert testimony (i.e.,
                                 deadline for Daubert motions). Objection shall be
                                 made as a motion to strike or limit expert testimony
                                 and shall be accompanied by a copy of the expert’s
                                 report in order to provide the Court with all the
                                 information necessary to make a ruling on any
                                 objection.

 11/08/2024                      Deadline for responses to Daubert motions and
                                 responses to motions to dismiss, motions for
                                 summary judgment, or other dispositive motions.

 11/22/2024                      Deadline for replies to Daubert motions and replies
                                 to motions to dismiss, motions for summary
                                 judgment, or other dispositive motions.

 02/14/2025                      Notice of intent to offer certified records.


      2 Except as otherwise provided by Federal Rule of Civil Procedure 12(a)(4).




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 02/14/2025                        Counsel and unrepresented parties are each
                                   responsible for contacting opposing counsel and
                                   unrepresented parties to determine how they will
                                   prepare the Joint Final Pretrial order, see
                                   (www.txed.uscourts.gov), and Joint Proposed Jury
                                   Instructions and Verdict Form (or Proposed
                                   Findings of Fact and Conclusions of Law in non-jury
                                   cases).

 02/21/2025                        Video Deposition Designation due. Each party who
                                   proposes to offer a deposition by video shall serve on
                                   all other parties a disclosure identifying the line and
                                   page numbers to be offered. All other parties will
                                   have seven calendar days to serve a response with
                                   any objections and request cross-examination line
                                   and page numbers to be included. Counsel must
                                   consult on any objections and only those which
                                   cannot be resolved shall be presented to the Court.
                                   The party who filed the initial Video Deposition
                                   Designation is responsible for preparation of the
                                   final edited video in accordance with all parties’
                                   designations and the Court’s rulings on objections.

 02/28/2025                        Motions in limine due.

 02/28/2025                        File Joint Final Pretrial Order.

 03/14/2025                        Response to motions in limine due. 3

 03/14/2025                        File objections to witnesses, deposition extracts, and
                                   exhibits, listed in pretrial order. 4 (This does not
                                   extend the deadline to object to expert witnesses.)
                                   Provide the exhibit objected to in the motion or


       3 This is not an invitation or requirement to file written responses. Most motions in

limine can be decided without a written response. But, if there is a particularly difficult or
novel issue, the Court needs some time to review the matter. To save time and space respond
only to items objected to. All others will be considered to be agreed. Opposing counsel shall
confer in an attempt to resolve any dispute over the motions in limine within five calendar
days of the filing of any response. The parties shall notify the Court of all the issues that are
resolved.

       4 Within seven calendar days after the filing of any objections, opposing counsel shall

confer to determine whether objections can be resolved without a ruling. The parties shall
notify the Court of all issues that are resolved. The Court needs a copy of the exhibit or the
pertinent deposition pages to rule on the objection.


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                                response. If numerous objections are filed, the Court
                                may set a hearing prior to docket call.

 03/14/2025                     File Proposed Jury Instructions/Form of Verdict (or
                                Proposed Findings of Fact and Conclusions of Law).

 03/14/2025                     File Proposed Voir Dire Questions.

 Date will be set by            If numerous objections are filed, the Court may set a
 Court, usually within          hearing to consider all pending motions and
 10 days prior to               objections.
 pretrial conf.

 03/27–03/28/2025               Final Pretrial Conference at 9:00 a.m. at the United
                                States Courthouse located at 7940 Preston Road in
                                Plano, Texas 75024. The Court will set aside two
                                days for this conference, which will commence on
                                March 27, 2025, and continue through March 28,
                                2025, as necessary.

 03/31/2025                     Jury selection and trial (or bench trial) at
                                10:00 a.m. at the United States Courthouse
                                located at 7940 Preston Road in Plano, Texas
                                75024.

 4 weeks                        Expected length of trial.


                             SCOPE OF DISCOVERY

        Modification. Taking into account the needs of the case, the amount in
controversy, the parties’ resources, the importance of the issues at stake in the
litigation, and the importance of the proposed discovery in resolving the issues, the
Court modifies the parameters of discovery in the following respects. See FED. R.
CIV. P. 26(b)(2).

       Disclosure. The Court is aware that the parties have already exchanged initial
disclosures. Nevertheless, the Court reminds them of their continuing obligation to
disclose, without awaiting a discovery request, information in addition to that
required by Federal Rule of Civil Procedure 26, including names of persons likely to
have, and documents containing, information “relevant to the claim or defense of any
party.” This requirement is set out in the Court’s initial Order Governing Proceedings,
(Dkt. #88).

       If there are any questions about whether information is “relevant to the claim
or defense of any party,” the parties are directed to Local Rule CV-26(d). A party that


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fails to timely disclose any of the information required by order of this Court or by the
Federal Rules of Civil Procedure, will not, unless such failure is harmless, be
permitted to use such evidence at trial, a hearing, or in support of a motion.

       Coordinated Discovery. Both MDL 3010 and a case brought by the Department
of Justice in the Eastern District of Virginia, U.S. et al. v. Google LLC, No. 1:23-cv-
00108-LMB-JFA, concern similar issues related to Google’s display advertising
business and offer opportunities for coordinated discovery going forward. The parties
are directed to confer and make a joint proposal concerning a potential coordinated
discovery order. If the parties are unable to agree on a joint proposal, they may make
separate submissions. Any such proposals for a joint discovery order must be
submitted by January 16, 2024.

       Electronic Discovery. Electronic discovery will proceed in accordance with the
Federal Rules of Civil Procedure and the Order Regarding Discovery Procedure,
(Dkt. #183), and the Confidentiality Order, (Dkt. #182), entered in this case.

       Discovery on Non-parties. Each party must serve upon all other parties a copy
of any discovery request to any non-party at the same time it is served on the non-
party. The requesting party must provide all other parties with any written
communication concerning any discovery request to any non-party within seven days
of the communication. Every discovery request to a non-party shall include a cover
letter requesting that (a) the non-party stamp each document with a production
number and any applicable confidentiality designation prior to producing it; (b) the
non-party provide both to the requesting party and to the other side copies of all
productions at the same time; and (c) the non-party provide to both the requesting
party and the other side copies of all written correspondence with any party
concerning the non-party’s response to or compliance with any discovery request
(including any extensions, modifications, or postponements). If the producing non-
party fails to stamp each document with a production number, the requesting party
must stamp each document with a production number prior to providing copies of the
production to the other side.

      Expert Witness Discovery. Expert discovery will proceed in accordance with
the Federal Rules of Civil Procedure and the Stipulation and Order Regarding Expert
Discovery, (Dkt. #184), entered in this case.

       Expert Depositions. Each expert may be deposed for a total of ten hours, over
two consecutive days, unless otherwise agreed by the parties. Depositions of each
side’s experts will be conducted only after disclosure of all expert reports and
accompanying materials.

      Calculating Response Times. For purposes of calculating discovery response
times under the Federal Rules of Civil Procedure, electronic delivery at the time the




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email was sent and received will be treated in the same manner as hand delivery at
that time.

                              DISCOVERY REQUESTS

       Interrogatories. Each side is limited to forty-five interrogatories in total and
an additional thirty contention interrogatories (defined as an interrogatory that asks
for a contention that relates to fact or the application of law to fact). This limit on the
number of interrogatories includes discrete sub-parts, except that individual Plaintiff
States shall provide separate answers to Defendant’s interrogatories specific to that
State when applicable and requested.

       Requests for Admission. Each side is limited to forty requests for admission in
total. Requests for admission solely to authenticate documents do not count toward
this number.

       Requests for Production. At this time, limits will not be imposed on requests
for production. However, as discovery proceeds, if any party wishes to make or renew
a request that limitations be imposed on the allowed number of requests for
production, the Court will consider the motion and it will be granted on a showing
that such limitation is reasonable and supported by good cause.

                                    DEPOSITIONS

       Generally. Each side is limited to forty depositions of fact witnesses. Fact-
witness depositions shall be limited to seven hours. Each side may depose any and
all witnesses produced to testify on each agreed upon Federal Rule of Civil
Procedure 30(b)(6) topic, but (unless otherwise specified herein) each seven-hour
period of 30(b)(6) deposition testimony shall count as one deposition for the purpose
of the side’s limit (e.g., the depositions of seven 30(b)(6) witnesses for two hours each
(fourteen hours in total) count as two depositions). The parties will use their best
efforts to make witnesses available for deposition at a mutually agreeable time and
location and without undue delay. If a witness is a former employee of any party, that
party shall, within twenty-one days of the deposition notice, provide the date of
departure and last known address of the former employee, whether the party’s
counsel can accept service of the notice, whether the party’s counsel will be
representing that party in connection with the deposition and, if not, the name and
contact information for the witness’s counsel or that the witness is unrepresented. No
party may notice a deposition of a party or a non-party for a date fewer than fourteen
days from the date of the notice, except that a party may cross-notice a deposition of
a previously noticed non-party up to seven days before the date of the deposition.

      Exceptions to Limit on Depositions. The following depositions do not count
against the deposition caps imposed above: (a) depositions of the parties’ designated
expert witnesses; (b) depositions previously taken in response to Civil Investigative



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Demands; (c) cross-examination of a witness by the non-noticing side in a non-party
deposition noticed by only one side; (d) depositions of individuals who are identified
on a party’s witness list and have not previously been deposed in this case; and
(e) depositions taken for the sole purpose of establishing the location, authenticity, or
admissibility of documents produced by any party or non-party, provided that such
depositions may be noticed only after the party taking the deposition has taken
reasonable steps to establish location, authenticity, or admissibility through other
means, and further provided that such depositions must be designated at the time
that they are noticed as being taken for the sole purpose of establishing the location,
authenticity, or admissibility of documents.

       Extended-Time Depositions of Party Fact Witnesses. All party fact witness
depositions are limited to seven hours, except that each side may give the other party
notice of depositions it proposes to extend up to fourteen hours based on good cause
as to a specific person, and the parties will confer in good faith about the extension.
This exception will not apply to executive-level employees of Google, the depositions
of which shall be limited to seven hours. If the parties are unable to agree after
negotiating in good faith, the parties may then seek the Court’s intervention.

       Depositions of Non-party Fact Witnesses Noticed by One Side. Depositions of
non-party fact witnesses noticed by only one side are limited to seven hours total.
During such a deposition, the non-noticing side may examine the witness for up to
one hour after direct examination. The noticing side then will be entitled to conduct
redirect examination of the witness for up to one hour.

       Depositions of Non-party Fact Witnesses Noticed by Both Sides. Agreed
Position: If a non-party deposition is noticed by both sides, then the deposition will
be eleven hours and will be divided equally between the sides, and the deposition of
the non-party will count as one deposition for each side. Any time allotted to one side
not used by that side in a non-party deposition may not be used by the other side,
unless the side that does not use all of its allotted time agrees to allow the other side
to use the remaining time.

      Lengthy Depositions. For any deposition of any witness lasting longer than
seven hours, either party or the witness may demand that the time remaining after
the seventh hour be carried over to be completed on the next consecutive business
day.

       Remote Depositions. The parties may conduct depositions remotely by
agreement. In the event that technical issues arise during a remote deposition,
including problems with loading or accessing exhibits in the virtual deposition
platform, the parties must promptly go off the record in order to address such issues
without counting against the examiner’s time on the record. Absent consent of all
parties, the parties should remain on camera while off the record for this purpose.




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                              DISCOVERY DISPUTES

       In the event the parties encounter a discovery dispute, no motions to compel
may be filed until after the parties fulfill the “meet and confer” requirement imposed
by this Court’s Local Rule CV-7(h). If the parties are unable to resolve the dispute
without court intervention, the parties must then call the Court’s chambers to
schedule a telephone conference regarding the subject matter of the dispute prior to
filing any motion to compel. After reviewing the dispute, the Court will resolve the
dispute, order the parties to file an appropriate motion, or direct the parties to call
the discovery hotline.

      A magistrate judge is available during business hours to immediately hear
discovery disputes and to enforce provisions of the rules. The hotline number is (903)
590-1198. See Local Rule CV-26(e).

       If a special master is appointed, the procedures for discovery disputes
described in this order may be altered, and the specific provisions of any special
master appointment order will control over the “discovery disputes” section of this
order.

                                    RESOURCES

      The Eastern District of Texas website (http://www.txed.uscourts.gov) contains
information about electronic filing, which is mandatory, Local Rules, telephone
numbers, general orders, frequently requested cases, the Eastern District fee
schedule, and other information. The electronic filing HelpLine is 1-866-251-7534.

                                   COMPLIANCE

       A party is not excused from the requirements of this scheduling order because
dispositive motions are pending, the party has not completed its investigation, the
party challenges the sufficiency of the opposing party’s disclosure or because another
party has failed to comply with this order or the rules.

       Failure to comply with relevant provisions of the Local Rules, the Federal
Rules of Civil Procedure, or this order may result in the exclusion of evidence at trial,
the imposition of sanctions by the Court, or both. If a fellow member of the Bar makes
a just request for cooperation or seeks scheduling accommodation, a lawyer will not
arbitrarily or unreasonably withhold consent. However, the Court is not bound to
accept agreements of counsel to extend deadlines imposed by rule or court order. See
Local Rule AT-3(j).

                                        TRIAL

       The deadlines for pretrial matters, such as exchanging exhibits, and objections,
are intended to reduce the need for trial objections, side-bar conferences, and
repetitive presentation of evidentiary predicates for clearly admissible evidence.


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Counsel should be familiar with the evidence display system available in the
courtroom. Copies of exhibits that will be handed to witnesses should be placed in a
three-ring binder, with an additional copy for the Court. (To make it easy to direct
the witness to the correct exhibit while on the stand, Plaintiff should use a dark
colored binder such as black or dark blue. Defendant should use a light-colored binder
such as white, red, or light blue.) Alternatively, if exhibits have been scanned and
will be presented via a computer projection system, be sure there is a way for the
Court to view or read them separately so as to be able to understand motions and
objections.

      Counsel are responsible for informing their clients and witnesses about
courtroom dress requirements and protocol, such as silencing pagers and phones and
not chewing gum, reading newspapers, or eating.

       .                        OTHER MATTERS

   1. Please note the amendments to the Local Rules regarding motion practice. If
      a document filed electronically exceeds ten pages in length, including
      attachments, a paper copy of the filed document must be sent
      contemporaneously to the undersigned’s chambers in Plano. See Local Rule
      CV-5(a)(9). Courtesy copies over twenty pages long should be bound to the left,
      and voluminous exhibits should be separated by dividers.

   2. Any reply or sur-reply must be filed in accordance with Local Rule CV-6 and
      Local Rule CV-7(f). The parties are reminded that “[t]he court need not wait
      for the reply or sur-reply before ruling on the motion.” Local Rule CV-7(f)
      (emphasis added).


           So ORDERED and SIGNED this 2nd day of January, 2024.




                                                     ____________________________________
                                                     SEAN D. JORDAN
                                                     UNITED STATES DISTRICT JUDGE




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